           Case 8:21-ap-01095-ES Doc 51 Filed 07/13/22                                            Entered 07/13/22 21:24:04                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
The Huntington Beach Gables Homeowners A,
       Plaintiff                                                                                                       Adv. Proc. No. 21-01095-ES
Gallian,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 11, 2022                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 13, 2022:
Recip ID                  Recipient Name and Address
aty                     + Michael D Poole, Feldsott & Lee, 23161 Mill Creek Dr Ste 300, Laguna Hills, CA 92653-7907
dft                     + Jamie L Gallian, 16222 Monterey Ln #376, Santa Ana, CA 92649-2258

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
dft                            Randall L Nickel
pla                            The Huntington Beach Gables Homeowners Association

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 13, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 8, 2022 at the address(es) listed below:
Name                               Email Address
Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Jeffrey I Golden (TR)
                                   lwerner@wgllp.com jig@trustesolutions.net;kadele@wgllp.com

Mark A Mellor
                                   on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com
          Case 8:21-ap-01095-ES Doc 51 Filed 07/13/22                                 Entered 07/13/22 21:24:04                 Desc
                              Imaged Certificate of Notice                            Page 2 of 4
District/off: 0973-8                                         User: admin                                                        Page 2 of 2
Date Rcvd: Jul 11, 2022                                      Form ID: pdf031                                                   Total Noticed: 2
Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 5
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   1   Robert P. Goe - State Bar No. 137019
       Brandon J. Iskander ± State Bar No. 300916
   2   GOE FORSYTHE & HODGES LLP
       18101 Von Karman Avenue, Suite 1200                      FILED & ENTERED
   3   Irvine, CA 92612
       Email: rgoe@goeforlaw.com
   4            biskander@goeforlaw.com                                  JUL 08 2022
   5   Telephone: (949) 798-2460
       Facsimile: (949) 955-9437                                    CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
   6                                                                BY mccall DEPUTY CLERK
       Stanley Feldsott ± State Bar No. 45128
   7   Michael D. Poole ± State Bar No. 280764
       FELDSOTT & LEE
   8   23161 Mill Creek Drive, Suite 300
       Laguna Hills, CA 92653
   9   Telephone: (949) 729-8002
       Email: MPoole@cahoalaw.com
  10
       Co-Counsel for The Huntington Beach Gables Homeowners Association
  11
  12                           UNITED STATES BANKRUPTCY COURT
  13              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  14
  15   In re:
                                                        Case No. 8:21-bk-11710-ES
  16   JAMIE LYNN GALLIAN,
                                                        Chapter 7
  17                                                    Adv. No. 8:21-ap-01095-ES
                     Debtor.
  18
                                                        ORDER GRANTING MOTION TO
  19                                                    CONTINUE PRE-TRIAL
                                                        CONFERENCE AND OTHER DATES
  20
  21                                                    Current Pre-Trial Conference
       THE HUNTINGTON BEACH GABLES
  22   HOMEOWNERS ASSOCIATION, a California             Hearing Date: July 14, 2022
       nonprofit mutual benefit corporation,            Time:          9:30 a.m.
  23                 Plaintiff,                         Courtroom: 5A

  24   vs.                                              New Pre-Trial Conference
       JAMIE L GALLIAN, an individual; RANDALL          Hearing Date: September 22, 2022
  25   L NICKEL, an individual, and DOES 1 through      Time:          10:00 a.m.
       100, inclusive,                                  Courtroom:     5A
  26
                     Defendants.
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  28



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   1           Plaintiff, The Huntington Beach Gables Homeowners Association (³Plaintiff´), filed its
   2   Motion to Continue Pre-Trial Conference and Other Dates (³Motion´) on July 8, 2022 as Docket
   3   No. 49, having been considered, finding that notice was proper, and for good cause showing,
   4           IT IS ORDERED:

   5           1.     The Motion is granted; and
   6           2.     The Pre-Trial Conference is continued to September 22, 2022 at 10:00 a.m. in
   7                  Courtroom 5A of the United States Bankruptcy Court located at 411 West Fourth
   8                  Street, Santa Ana, CA 92701.
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  24 Date: July 8, 2022
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